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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

LINDA FINCH, as Next Friend                                                              PLAINTIFF
of Johnny Ebert


VS.                                  CASE NO. 4:05-CV-4070

TEXARKANA SCHOOL DISTRICT
NO. 7 OF MILLER COUNTY                                                                 DEFENDANT

                                              ORDER

       Now on this 26th day of June, following the close of Plaintiff Linda Finch’s case-in-chief,

came before the Court the oral motion of Defendant Texarkana School District No. 7 of Miller

County (“the School District”) pursuant to Rule 50 of the Federal Rules of Civil Procedure. Upon

consideration of the School District’s motion and Plaintiff’s responses thereto, the Court is satisfied

that no legally sufficient evidentiary basis exists upon which the jury could find for Plaintiff with

regard to any of her claims. Accordingly, it is hereby

       ORDERED that the School District’s Rule 50 motion is GRANTED.

       IT IS FURTHER ORDERED that Plaintiff’s claims are hereby DISMISSED WITH

PREJUDICE.

       IT IS SO ORDERED

                                                              /s/Harry F. Barnes
                                                       Hon. Harry F. Barnes
                                                       United States District Judge
